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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA
                                LAFAYETTE DIVISION
                                   Held in Lafayette

  UNITED STATES OF AMERICA                         CASE NO. 6:16-CR-00145-01

  VERSUS                                           CHIEF JUDGE DRELL

  WOOD GROUP P S N INC (01)                        MAGISTRATE JUDGE HANNA


                                   MINUTES OF COURT:
                                         Sentencing
  Date:                February 23, 2017       Presiding: Chief Judge Dee D. Drell
  Court Opened:        1:30 p.m.               Courtroom Deputy:      Greta Roaix
  Court Adjourned:     2:00 p.m.               Court Reporter:        Gayle Wear
  Statistical Time:    00:30                   Courtroom:             CR1


                                    APPEARANCES
  Myers P Namie (AUSA)                    For   United States of America
  Nadira Clarke (RET)                     For   Wood Group P S N Inc (01), Defendant
  Lily N. Chin (RET)                      For   Wood Group P S N Inc (01), Defendant
  Glen Donath (RET)                       For   Wood Group P S N Inc (01), Defendant
  William Gibbens (RET)                         Wood Group P S N Inc (01), Defendant
  Wood Group P S N Inc (01), Defendant

                                        PROCEEDINGS
  PROCEEDINGS:

  Sentencing Hearing
  Defendant advised of the right to appeal

 FILINGS:

 Compliance Agreement


  Sentence as to Count 1 of the Bill of Information: The Company is placed on
  organizational Probation for 3 years; Fine: $7,000,000.00; Interest: Waived;
  Assessment of $400, due immediately.



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  Special Conditions of Probation: (1) The company agrees that it shall not commit any
  further criminal violations, including those federal laws and regulations for which
  primary enforcement has been delegated to state authorities. (2) Wood Group PSN, Inc.
  shall enter into a compliance agreement with the Environmental Protection Agency
  (EPA) and the Department of Interior (DOI) for the durations of the probationary period.
  As part of the compliance agreement, Wood Group PSN, Inc. agrees to make restitution
  owed to its customers due to its failure to inspect facilities, pursuant to its obligations.
  (3) The company shall notify the Probation Officer within 72 hours of any criminal
  prosecution against it or knowledge by an executive officer of any referral for potential
  criminal prosecution and any issues with violation of agreement. (4) The company shall
  designate an official of the organization to act as the organization’s representative and to
  be the primary contact with the U. S. Probation Office. (5) The company shall provide
  written notice to the government, BSEE, and the U. S. Probation Office ten days prior to
  any of the following: (i) any change in its corporate name, (ii) any change in the principal
  business location or mailing address. (6) No change in name, business reorganization,
  bankruptcy, change in ownership or control of the company, merger, change in legal
  status, purchase of assets, or similar action shall alter or diminish the company’s
  obligations under this probationary period. The company further agrees that it will not
  engage in any business reorganization, transfer of ownership, corporate dissolution, or
  other business practice, including the sale or transfer of assets, in order to avoid the
  obligations set forth in this judgment. (7) Wood Group PSN, Inc. shall pay $500,000.00
  in community service according to the joint proposed community service plan. Wood
  Group PSN, Inc. shall not seek to have payment of community service considered tax
  deductible, nor shall it make any public statements classifying said payments as
  voluntary contributions, nor will it see to gain any benefit in other claims or litigation.




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